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  1   ROB BONTA
      Attorney General of California
  2   MARK BECKINGTON
      Supervising Deputy Attorney General
  3   JENNIFER E. ROSENBERG
      Deputy Attorney General
  4   State Bar No. 275496
       300 South Spring Street, Suite 1702
  5    Los Angeles, CA 90013
       Telephone: (213) 269-6617
  6    Fax: (916) 731-2124
       E-mail: Jennifer.Rosenberg@doj.ca.gov
  7   Attorneys for Defendants Rob Bonta, in
      his official capacity as Attorney General of
  8   the State of California, and Luis Lopez,
      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                         IN THE UNITED STATES DISTRICT COURT
 11
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15   Matthew Jones, et al.,                         3:19-cv-01226-L-AHG
 16                                     Plaintiffs, JOINT MOTION FOR
                                                    MODIFICATION OF
 17                 v.                              SCHEDULING ORDER IN LIGHT
                                                    OF JOINT MOTION TO STAY
 18
      Rob Bonta, in his official capacity as         Dept:         5B
 19   Attorney General of the State of
      California, et al.,                            Judge:        The Honorable M. James
 20                                                                Lorenz and Magistrate
                                     Defendants.                   Judge Allison H. Goddard
 21
                                                     Final Pretrial Conference
 22                                                  Date:         February 7, 2022
 23                                                  Action
                                                     Filed:        July 1, 2019
 24
                                                     First Amended Complaint
 25                                                  Filed:     July 30, 2019
 26                                                  Second Amended Complaint
                                                     Filed:    November 8, 2019
 27
 28

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  1          Plaintiffs Matthew Jones, et al., and Defendants Rob Bonta (in his official
  2   capacity as Attorney General of the State of California) and Luis Lopez (in his
  3   official capacity as Director of the Department of Justice Bureau of Firearms), 1
  4   through their respective counsel of record and pursuant to Civil Local Rules 7.1 and
  5   7.2, hereby jointly move the Court to extend all deadlines set forth in the operative
  6   scheduling orders in this matter, ECF Nos. 15, 82, by approximately one month.
  7   This motion is made in order to allow additional time while the parties’ Joint Motion
  8   for Limited Stay of Proceedings Pending Resolution of Interlocutory Appeal, ECF
  9   No. 83 (“Joint Stay Motion”) is pending before the Court, and to permit the parties
 10   additional time necessary to complete party and expert witness depositions while
 11   they await the Court’s ruling on that motion. This joint motion is supported by the
 12   declaration of Jennifer E. Rosenberg (“Rosenberg Decl.”), filed concurrently
 13   herewith.
 14          Good cause exists for the requested modification. All initial and rebuttal
 15   expert disclosures and reports were exchanged on the schedule set forth in the
 16   operative scheduling orders. ECF Nos. 15, 82. The parties met and conferred and
 17   filed their Joint Stay Motion on July 29, 2021, promptly after the exchange of their
 18   rebuttal expert reports. However, the current deadline set for the close of all fact
 19   and expert discovery, August 25, 2021, is fast approaching, and a significant number
 20   of depositions remains to be taken before that date, including potentially nine expert
 21   witness depositions that will take substantial preparation, as well as several party
 22   and potentially third-party witness depositions. Rosenberg Decl., ¶¶ 4, 6.
 23          As explained in the parties’ Joint Stay Motion, the Ninth Circuit’s
 24   forthcoming decision in the interlocutory appeal of this Court’s order denying
 25
 26          Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Attorney
             1
      General Rob Bonta is automatically substituted as a defendant in place of his
 27   predecessor, former Attorney General Xavier Becerra, and Director Luis Lopez is
      automatically substituted as a defendant in place of his predecessor, former Acting
 28   Director Brent E. Orick.
                                                   1
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  1   Plaintiffs’ motion for preliminary injunction, ECF No. 66 (“Preliminary Injunction
  2   Order”), is likely to provide substantial guidance as to several critical legal issues
  3   that will shape how the case will unfold in this Court, including potentially the
  4   applicable level of constitutional scrutiny and the evidentiary burdens the parties
  5   will bear going forward. Accordingly, the Ninth Circuit’s ruling and guidance
  6   might permit the parties to streamline the evidence they plan to present, potentially
  7   obviating the need for deposing or presenting testimony of certain fact or expert
  8   witnesses. ECF No. 83 at 7, 9-13. Absent the requested modification of deadlines,
  9   the parties will need to schedule and conduct many depositions of experts and other
 10   witnesses in a very short timeframe. Rosenberg Decl., ¶¶ 5, 7. That would defeat
 11   the aim of conserving judicial and party resources at the heart of the parties’ Joint
 12   Stay Motion. Id. It therefore would benefit all parties and the Court to provide
 13   additional time for the Court to rule on the pending Joint Stay Motion. Id.
 14          Even if the Court denies the Joint Stay Motion, it would still benefit all parties
 15   and the Court to ensure that the parties’ numerous expert witnesses and any fact
 16   witnesses have the additional time requested in this joint motion to schedule and
 17   adequately prepare for their depositions. Id. ¶ 8.2
 18
 19
 20
 21          2
               The parties previously sought seven modifications of the Court’s original
      scheduling order. The first modification moved all dates set forth in the Court’s
 22   original scheduling order by approximately 5 to 6 weeks; the second moved the fact
      discovery deadline from November 6, 2020 to December 15, 2020; the third moved
 23   all dates out by approximately 2-3 months due to the denial of Plaintiffs’ motion for
      preliminary injunction and interlocutory appeal of that denial; the fourth extended
 24   the deadline for close of fact discovery; the fifth extended the deadlines for close of
      expert and fact discovery by a few weeks in light of the scheduling of oral argument
 25   on May 12, 2021 in the interlocutory appeal; the sixth extended all deadlines set
      forth in the operative scheduling orders in this matter by approximately 60-75 days
 26   in light of significant supplemental briefing mandated by the Ninth Circuit in the
      interlocutory appeal; and the seventh extended all deadlines in the operative
 27   scheduling orders by approximately 14 days in order to permit all parties’ experts
      additional time necessary to complete their rebuttal expert reports. See ECF Nos.
 28   57, 58, 64, 65, 70, 71, 72, 73, 75, 76, 79, 80, 81, 82.
                                                   2
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  1                     RELEVANT PROCEDURAL BACKGROUND
  2   I.     INITIAL PLEADINGS AND SCHEDULING ORDER
  3          Plaintiffs filed their First Amended Complaint for Declaratory and Injunctive
  4   Relief (FAC) on July 30, 2019 and served the FAC and summons on August 1,
  5   2019. ECF No. 3; ECF No. 5 at 1, n.2. A case management conference was held
  6   before Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1, and
  7   thereafter, Plaintiffs filed a Second Amendment Complaint, ECF No. 20. Plaintiffs
  8   then filed a motion for a preliminary injunction on November 12, 2019, which
  9   Defendants opposed. ECF Nos. 21 & 25.
 10          In the Joint Case Management Statement that the parties filed in advance of
 11   the October 9, 2019 case management conference with Magistrate Judge Goddard,
 12   and during the case management conference, the parties notified the Court that they
 13   planned to wait to conduct discovery until after resolution of Plaintiffs’ preliminary
 14   injunction motion, and proffered the joint view that it would be premature to set a
 15   discovery schedule until after resolution of that motion. ECF No. 11 at 13, 20, 22;
 16   see also ECF Nos. 21 & 57. The parties desired to delay discovery in part because
 17   they anticipated that there would be an interlocutory appeal of any order on the
 18   preliminary injunction motion. ECF No. 11 at 22. Nonetheless, in accordance with
 19   the directions in Magistrate Judge Goddard’s ENE order, the parties proposed in
 20   their Joint Case Management Statement a set of discovery and pre-trial deadlines
 21   tied to resolution of the preliminary injunction motion. Id. at 22-23 [the parties
 22   assuming at that time, for purposes of proposing dates, that the preliminary
 23   injunction motion would be heard and resolved in early 2020]. The Court issued its
 24   original scheduling order after the case management conference. ECF No. 15.
 25   Subsequent modifications of the scheduling order were sought and granted in the
 26   latter half of 2020, see supra n.2, including to adjust the schedule to respond to the
 27   current COVID-19 pandemic, to accommodate scheduling of depositions in light of
 28   witness and counsel illnesses, individual plaintiffs’ school exams, and work
                                                   3
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  1   schedules, and in light of counsels’ unusually heavy caseloads on this and other
  2   matters due to the pandemic and other factors. ECF No. 57, 58, 64, 65.
  3   II.    PRELIMINARY INJUNCTION ORDER, NINTH CIRCUIT APPEAL, AND
             RELATED SCHEDULE MODIFICATIONS
  4
             The Court denied Plaintiffs’ motion for preliminary injunction on November
  5
      3, 2020. ECF Nos. 65, 66. Plaintiffs filed their notice of appeal of the Preliminary
  6
      Injunction Order on November 6, 2020. ECF. No. 67. Because of the accelerated
  7
      nature of the interlocutory appeal, the briefing schedule set by the Ninth Circuit
  8
      required the parties to complete the appellate briefing on an expedited basis. Jones
  9
      v. Becerra, No. 20-56174 (9th Cir. Nov. 10, 2020), ECF No. 4, Trans. ID 11888196.
 10
      According to a modified briefing schedule, the parties’ briefs on appeal were due in
 11
      December 2020 and January and February 2021. Jones v. Becerra, No. 20-56174
 12
      (9th Cir. Dec. 23, 2020), ECF No. 23, Trans. ID 11938842. Because of the
 13
      expedited schedule in the Ninth Circuit, the parties sought an extension of time on
 14
      all deadlines in this case of approximately 2-3 months to alleviate some of the
 15
      burden the parties bore in simultaneously briefing the appeal and conducting fact
 16
      and expert discovery. See ECF No. 70. This Court granted that motion for good
 17
      cause shown on November 16, 2020. See ECF No. 71.
 18
             On January 29, 2021, the parties jointly moved to extend the close of fact
 19
      discovery to one week after the close of expert discovery in light of the ongoing
 20
      appellate briefing, conflicts in the schedules of the parties and counsel due to
 21
      professional obligations and unexpected personal needs, and the parties’ ongoing
 22
      discovery efforts. See ECF No. 72. This Court granted that request for good cause
 23
      shown on February 1, 2021. ECF No. 73.
 24
             Merits briefing in the interlocutory appeal was completed on February 9,
 25
      2021. Jones v. Becerra, No. 20-56174 (9th Cir. Feb. 9, 2021), ECF No. 44, Trans.
 26
      ID 11997833. On February 28, 2021, the Ninth Circuit set oral argument in the
 27
      interlocutory appeal for May 12, 2021. See Jones v. Becerra, No. 20-56174 (9th
 28
                                                   4
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  1   Cir. Feb. 28, 2021), Trans. ID 12018921. On March 5, 2021, in light of the
  2   scheduling of oral argument in the appeal for a time that overlapped significantly
  3   with several fact and expert discovery deadlines set in this Court, the parties jointly
  4   requested a modest extension of time of a few weeks on solely the fact and expert
  5   discovery deadlines in the case. ECF No. 76. The Court granted that request on
  6   March 8, 2021. ECF No. 77.
  7          On March 26, 2021, the Ninth Circuit issued an order in the interlocutory
  8   appeal requesting supplemental briefing on three interrelated questions addressing
  9   the original public meaning of the Second Amendment and the potential use of the
 10   tool of corpus linguistics to interpret the amendment. ECF No. 78; see also Jones v.
 11   Becerra, No. 20-56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans. ID 12055134.
 12   On March 30, 2021, the parties sought another modification of the scheduling order
 13   in light of the Ninth Circuit’s March 26, 2021 order directing the parties to submit
 14   substantial supplemental briefing on such a short timeframe. ECF No. 79; see also
 15   Jones v. Becerra, No. 20-56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans. ID
 16   12055134. The Court granted the parties’ request on April 1, 2021. ECF No. 80.
 17   Thereafter, the parties filed simultaneous supplemental briefs and supplemental
 18   responsive briefs in the Ninth Circuit on April 16, 2021 and April 26, 2021,
 19   respectively. Oral argument was held in the interlocutory appeal on May 12, 2021,
 20   Jones v. Becerra, No. 20-56174 (9th Cir. May 12, 2021), Trans. ID 12110574, and
 21   the parties await the Ninth Circuit’s ruling.
 22   III.   CURRENT STATUS OF DISCOVERY
 23          The parties exchanged written discovery requests and responses in
 24   September, October, and November 2020, as well as in February and April 2021.
 25   Rosenberg Decl., ¶ 4. The parties also exchanged initial expert witness reports on
 26   June 2, 2021. Id. At that time, Plaintiffs designated four initial expert witnesses,
 27   and Defendants designated three initial expert witnesses. Id.
 28          On July 2, 2021, the parties jointly sought a short, two-week continuance of
                                                   5
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  1   all deadlines in the scheduling order to allow Plaintiffs’ expert witnesses time they
  2   requested to finish preparing their rebuttal expert witness reports. ECF No. 81. The
  3   Court granted that request and issued a modified scheduling order on July 7, 2021.
  4   ECF No. 82. The parties then exchanged rebuttal expert reports on July 21, 2021.
  5   Plaintiffs disclosed four rebuttal expert witness reports, and Defendants disclosed
  6   three rebuttal expert witness reports. Rosenberg Decl., ¶ 4.
  7           Under the current scheduling order, the close of both fact and expert
  8   discovery is set for August 25, 2021, and the deadline for submitting any pretrial
  9   motions other than motions in limine is set for October 6, 2021. ECF No. 82. The
 10   parties intend to depose some or all of the nine designated expert and rebuttal expert
 11   witnesses. Rosenberg Decl., ¶ 6. And although the parties intend to take fact
 12   witness and/or party depositions, those depositions have not yet occurred. Id. There
 13   are ten plaintiffs in this action and an unknown number of Rule 30(b)(6) or third-
 14   party witnesses who may be deposed; the parties continue to meet and confer on that
 15   question. Id.
 16           Under the Court’s operative scheduling orders in this action, ECF. Nos. 15 &
 17   82, the full roster of deadlines currently set in this case are as follows:
 18
 19    Action                                                       Current Deadline
         • Expert discovery to be completed                         Wednesday, Aug. 25,
 20                                                                 2021
 21       •    Close of fact discovery                              Wednesday, Aug. 25,
                                                                    2021
 22       •    All pretrial motions, other than motions in          Wednesday, Oct. 6,
 23            limine, to be filed                                  2021
          •    Mandatory settlement conference                      Friday, Dec. 17, 2021, at
 24                                                                 9:30 a.m.
 25       •    Plaintiffs’ written settlement proposal to be        Friday, Nov. 26, 2021
               served
 26
 27
 28
                                                   6
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  1       •     In-person or telephonic meet-and-confer             No later than Friday,
  2             regarding settlement offer to be held               Dec. 3, 2021
          •     Defendants’ written response to settlement
  3             proposal to be made in writing, prior to the
  4             meet-and-confer
          •     Each party to serve and lodge settlement            Thursday, Dec. 9, 2021
  5             conference statement
  6       •     Optional confidential settlement letter may be      Thursday, Dec. 9, 2021
                lodged for Court’s review
  7       •     Compliance with Rule 26(a)(3) pre-trial             Monday, Jan. 10, 2022
  8             disclosure requirements in advance of final
                pre-trial conference
  9       •     Parties to meet and take action required by         Monday, Jan. 17, 2022
 10             Local Rule 16.1(f)(4)
          •     Plaintiffs to provide defendants with draft         Monday, Jan. 24, 2022
 11
                proposed final pretrial order for review and
 12             approval
          •     The proposed final pretrial conference order,       Monday, Jan. 31, 2022
 13
                including objections to Rule 26(a)(3) pretrial
 14             disclosures, shall be served and lodged with
                Judge Lorenz
 15
          •     Final pretrial conference                           Monday, Feb. 7, 2022 at
 16                                                                 11 a.m.
 17
 18           GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
 19            Counsel for the parties met and conferred via telephone on August 3, 2021,
 20   and agree that a modification of the scheduling order to continue all deadlines by
 21   approximately one month is appropriate to allow additional time while the Joint Stay
 22   Motion is pending before the Court and to permit the parties to adequately prepare
 23   and conduct fact and expert witness depositions in the event that the Court denies
 24   the Joint Stay Motion or does not rule on that motion in advance of the August 25,
 25   2021 deadline for close of all fact and expert discovery. See Rosenberg Decl., ¶¶ 3,
 26   7, 8.
 27            As discussed above, the parties jointly sought a stay because the Ninth
 28
                                                   7
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  1   Circuit’s ruling and guidance might permit the parties to streamline the evidence
  2   they plan to present and may inform the scope of remaining discovery that should be
  3   conducted, including depositions and witness testimony. ECF No. 83 at 7, 9-13.
  4   Absent the requested modification of deadlines, the parties will have to schedule and
  5   conduct likely more than a dozen depositions of experts and other witnesses in a
  6   very short timeframe, undermining their good faith attempt to conserve judicial and
  7   party resources by jointly seeking the limited stay they have requested. Rosenberg
  8   Decl., ¶ 7. It therefore would benefit all parties and the Court to grant the parties’
  9   joint motion for additional time while the Joint Stay Motion is pending. Id.
 10           Further, in the event that the Court denies the Joint Stay Motion, it would still
 11   benefit all parties and the Court to ensure that the parties’ numerous expert
 12   witnesses and any fact witnesses have the additional time requested here to schedule
 13   and adequately prepare for their depositions. Id. ¶ 8. All parties wish to ensure that
 14   they have adequate time to schedule and prepare for depositions of both fact and
 15   several expert witnesses, and an extension of approximately one month on all
 16   deadlines will help them do so. Id.
 17           WHEREFORE:
 18           The parties hereby jointly request that the Court issue an order modifying the
 19   discovery deadlines set in the operative scheduling orders (ECF Nos. 15 & 82) while
 20   the Joint Stay Motion is pending as follows:
 21
 22    Action                                   Current Deadline       New Deadline
         • Expert discovery to be               Wednesday, Aug.        Friday, Sept. 24, 2021
 23          completed                          25, 2021
 24      • Close of fact discovery              Wednesday, Aug.        Friday, Sept. 24, 2021
                                                25, 2021
 25       •    All pretrial motions, other      Wednesday, Oct.        Friday, Nov. 5, 2021
 26            than motions in limine, to       6, 2021
               be filed
 27       •    Mandatory settlement             Friday, Dec. 17,       Friday, Jan. 14, 2022, at
 28            conference                       2021, at 9:30 a.m.     9:30 a.m.
                                                   8
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 1       •    Plaintiffs’ written              Friday, Nov. 26,       Thurs., Dec. 23, 2021
 2            settlement proposal to be        2021
              served
 3       •    In-person or telephonic          No later than          No later than Tuesday,
 4            meet-and-confer regarding        Friday, Dec. 3,        Jan. 4, 2022
              settlement offer to be held      2021
 5       •    Defendants’ written
 6            response to settlement
              proposal to be made in
 7            writing, prior to the meet-
 8            and-confer
         •    Each party to serve and          Thursday, Dec. 9,      Monday, Jan. 10, 2022
 9            lodge settlement conference      2021
10            statement
         •    Optional confidential            Thursday, Dec. 9,      Monday, Jan. 10, 2022
11            settlement letter may be         2021
12            lodged for Court’s review
         •    Compliance with Rule             Monday, Jan. 10,       Wednesday, Feb. 9,
13
              26(a)(3) pre-trial disclosure    2022                   2022
14            requirements in advance of
              final pre-trial conference
15
         •    Parties to meet and take         Monday, Jan. 17,       Wednesday, Feb. 16,
16            action required by Local         2022                   2022
              Rule 16.1(f)(4)
17
         •    Plaintiffs to provide            Monday, Jan. 24,       Wednesday, Feb. 23,
18            defendants with draft            2022                   2022
19            proposed final pretrial order
              for review and approval
20       •    The proposed final pretrial      Monday, Jan. 31,       Wednesday, March 2,
21            conference order, including      2022                   2022
              objections to Rule 26(a)(3)
22            pretrial disclosures, shall be
23            served and lodged with
              Judge Lorenz
24       •    Final pretrial conference        Monday, Feb. 7,        Monday, March 14,
25                                             2022 at 11 a.m.        2022 at 11 a.m.

26
             The parties propose that the Court’s order on this joint motion for
27
     modification of the scheduling order be subject and subordinate to the Court’s order
28
                                                  9
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 1   on the Joint Stay Motion. Rosenberg Decl., ¶ 10. Accordingly, should the Court
 2   grant the Joint Stay Motion either prior to or after resolving this joint motion for
 3   modification of the scheduling order, the parties propose that the stay ordered will
 4   control and all proceedings will be stayed. Id. Should the Court deny the Joint Stay
 5   Motion, the parties propose that any order on this joint motion remain in effect to
 6   permit the parties time to complete the discovery discussed above. Id.
 7          Although the parties do not anticipate seeking further modification in the
 8   future, they also jointly request that the Court’s order modifying the scheduling
 9   order reserve the parties’ ability to seek the Court’s approval of further
10   modifications for good cause should the need to do so arise. Id. ¶ 11.
11          A proposed order will be lodged with the Court concurrently with submission
12   of this joint motion.
13
     Dated: August 3, 2021                             Respectfully Submitted,
14
                                                       ROB BONTA
15                                                     Attorney General of California
                                                       MARK BECKINGTON
16                                                     Supervising Deputy Attorney General
17
                                                       _/s/ Jennifer E. Rosenberg________
18                                                     JENNIFER E. ROSENBERG
                                                       Deputy Attorney General
19                                                     Attorneys for Defendants Rob Bonta,
                                                       in his official capacity as Attorney
20                                                     General of the State of California,
                                                       and Luis Lopez, in his official
21                                                     capacity as Director of the
                                                       Department of Justice Bureau of
22                                                     Firearms
23
                                                       DILLON LAW GROUP, APC
24
                                                       _/s/ John Dillon_________________
25                                                     JOHN DILLON
                                                       Attorney for Plaintiffs
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 1      Certification re: Electronic Signatures Pursuant to Electronic Case Filing
             Administrative Policies and Procedures Manual, Section 2(f)(4)
 2
 3          I, Jennifer E. Rosenberg, hereby certify and attest that the content of this
 4   document is acceptable to all persons required to sign the document and that I have
 5   obtained authorization for use of the electronic signatures of all parties on the
 6   document, including Mr. John Dillon, Attorney for Plaintiffs.
 7
 8
     Dated: August 3, 2021
 9
10
11                                                     _/s/ Jennifer E. Rosenberg________
                                                       JENNIFER E. ROSENBERG
12                                                     Deputy Attorney General
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